
*606OPINION.
Sea well:
The issue of the constitutionality of section 280 of the Revenue Act of 1926, which the petitioner raises, need not be discussed as it is controlled by our decision in Henry Cappellini et al., 14 B. T. A. 1269.
The evidence shows that the petitioner was the owner and holder of shares of stock of the Decatur Brewing Co. -and received in liquidation of said shares assets and property of the said company in the sum and of a value in excess of the balance shown in our findings of fact to be due upon the assessment of deficiencies in tax in 1920 and 1922 against said Decatur Brewing Co.
In the circumstances of the instant case, we are of the opinion that the petitioner is, within the meaning of the Revenue Act of 1926, a transferee of the assets and property of the dissolved corporation, tito Decatur Brewing Co., and as such transferee is liable for the payment of the deficiencies in income and profits taxes of said corporation in the amounts and for the years stated in our findings of fact.

Judgment will be entered for the respondent.

